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     (916) 569-0665 fax
 4   Attorneys for
     MOHAMMAD NASIR KHAN
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. 2:09-cr-00436-MCE
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION TO CONTINUE STATUS
10                                       )                 CONFERENCE AND EXCLUDE TIME
           v.                            )                 UNDER THE SPEEDY TRIAL ACT;
11                                       )                 AND ORDER THEREON
     MOHAMMAD NASIR KHAN, et al.,        )
12                                       )
                       Defendants.       )
13   ____________________________________)
14
            IT IS HEREBY STIPULATED AND AGREED between the defendant, Mohammad Nasir
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     Khan by and through his defense counsel, Bruce Locke, and the United States of America by and
16
     through its counsel, Assistant U.S. Attorney John Vincent, that the status conference presently set
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     for May 19, 2011 at 9:00 a.m., should be continued to June 9, 2011 at 9:00 a.m., and that time under
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     the Speedy Trial Act should be excluded from May 19, 2011 through June 9, 2011.
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            The reason for the continuance is that the case is a tax case that is somewhat complex. The
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     government has provided Mr. Khan with a proposed plea agreement and Mr. Khan and his attorney
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     need the additional time to review the agreement. Additionally, the government has advised defense
22
     counsel that it will be providing additional discovery in the next two to three days. Accordingly, the
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     time between May 19, 2011 and June 9, 2011 should be excluded from the Speedy Trial calculation
24
     pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense
25
     preparation.    The parties stipulate that the ends of justice served by granting this continuance
26
     outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
27
     §3161(h)(7)(A). Mr. Vincent has authorized Mr. Locke to sign this pleading for him.
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29                                                     1
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 1
 2   DATED: May 16, 2011                                /S/ Bruce Locke
                                                  BRUCE LOCKE
 3                                                Attorney for Mohammad Nasir Khan
 4
 5
     DATED: May 16, 2011                             /S/ Bruce Locke
 6                                                For JOHN VINCENT
                                                  Attorney for the United States
 7
 8
 9                                                ORDER
10          For the reasons set forth above, the Court finds that there is GOOD CAUSE for the
11   continuance and the exclusion of time, and that the ends of justice served by this continuance
12   outweigh the best interests of the public and the defendant in a speedy trial. The calendaring
13   change set forth above IS SO ORDERED.
14
      Dated: May 18, 2011
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                                                   ________________________________
16                                                 MORRISON C. ENGLAND, JR.
17                                                 UNITED STATES DISTRICT JUDGE

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